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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION

SHADROCK & WILLIAMS                              §
MASONRY, LTD.,                                   §
    Plaintiff,                                   §
                                                 §
v.                                               §        CIVIL ACTION NO. 3:18-CV-00313
                                                 §
DELTA STONE PRODUCTS, INC.                       §
    Defendant.                                   §

                          PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE UNITED STATED DISTRICT JUDGE:

       Plaintiff Shadrock & Williams Masonry, Ltd. (Shadrock) respectfully files its Original

Complaint against Defendant Delta Stone Products, Inc. (Delta) and would respectfully show the

Court as follows.

I.     Introduction and Summary

       1.      This case concerns a seller’s effort to take advantage of an urgent situation by

demanding exorbitant payment to finish performing its obligations under a contract. Shadrock is

the masonry subcontractor for the Fort Bliss Hospital Replacement Project (the Project). Shadrock

entered into a unit-price contract with Delta (the Supply Contract), under which Delta agreed to

provide all of the stone required for Shadrock’s scope of work on the Project.

       2.      Since July 24, 2014, Shadrock has been placing orders for stone under the Supply

Contract and Delta has been providing the stone at the unit price stated in the Supply Contract.

However, when Shadrock placed the final stone order on September 4, 2018,1 Delta refused to




1
 Shadrock placed the final stone order by telephone on August 24, 2018. Shadrock sent an
email with the final stone order on September 4, 2018.


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 supply the stone unless Shadrock agreed to pay a 250% price increase plus an equipment fee of

 over $1,000,000. Delta, who is the sole supplier of the type of stone Shadrock has already installed

 on more than 80% of the Project, is attempting to extort a windfall from Shadrock and, by

 extension, the United States Army Corps of Engineers―the owner of the Project. Common law

 courts have rejected this tactic for more than 200 years:

          [I]f sailors were in all events to have their wages, and in time of danger entitled to
          insist on an extra charge on such a promise as this, they would in many cases suffer
          a ship to sink, unless the captain would pay any extravagant demand they might
          think proper to make.

 Harris v. Watson, Peake 72, 170 Eng. Rep. 94 (King’s Bench, 1791). Shadrock respectfully

 requests the Court reject Delta’s attempted extortion and enforce the Supply Contract against

 Delta.

 II.      Parties

          3.        Shadrock is a limited partnership formed under the laws of the State of Texas.

 Shadrock’s principal place of business is 10047 Floore Dr., Helotes, Texas 78028.

          4.        Delta is a foreign corporation not registered to do business in Texas. Delta’s

 principal place of business is 2276 S. Daniels Rd., Heber City, Utah, 84032. Pursuant to Federal

 Rule of Civil Procedure 4(h), Delta may be served in a manner provided by Texas law or by

 delivering copies of the summons and complaint to an officer or agent of Delta at its principal

 place of business.

III.      Jurisdiction and Venue

          5.        This court has subject matter jurisdiction over these claims pursuant to 28 U.S.C. §

 1332(a)(1) because there is diversity of citizenship between the parties and the amount in

 controversy exceeds $75,000 excluding interest and costs.




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        6.      Venue is proper in this district under 28 U.S.C. § 1391(b)(2) because a substantial

part of the events or omissions giving rise to this claim occurred in this district. Specifically, the

Project that is the subject of the Supply Contract and this lawsuit is located in this district.

IV.     Statement of Facts

        7.      The United States Army Corps of Engineers entered into a contract (the Prime

Contract) with Clark McCarthy Heathcare Partners II (CMHP) for the construction of the Project.

In turn, CMHP entered into a contract (the Subcontract) with Shadrock, under which Shadrock

agreed to perform the masonry scope of work for the Project. Shadrock entered into the Supply

Contract with Delta, under which Delta agreed to supply all stone necessary for Shadrock’s

performance of the Subcontract at an agreed-upon unit price and within an agreed-upon time. The

Supply Contract incorporated both the Prime Contract and the Subcontract.

        8.      On July 24, 2014, Shadrock placed the first order of stone under the Supply

Contract. Since then, Shadrock has placed approximately 36 orders of stone under the Supply

Contract and Delta has been continuously providing Shadrock with stone. To date, Shadrock has

paid Delta more than $6,600,000 under the Supply Contract.

        9.      On September 4, 2018, Shadrock placed its final stone order under the Supply

Contract. The final order of stone is necessary to complete the masonry scope of work in the

Subcontract; it does not represent a change in scope. Nevertheless, Delta refused to provide the

final order of stone in accordance with the terms of the Supply Contract. Instead, Delta demanded

a 250% increase to the unit price as well as an equipment fee of $113,000 per month, which would

amount to more than $1,000,000 over the approximately ten months remaining for Delta to

complete the Supply Contract.




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V.     Cause of Action

       A.          Breach of Contract

       10.         The Supply Contract obligates Delta to supply all stone necessary for Shadrock to

complete the Subcontract at the unit-price and within the time frame stated in the Supply Contract.

Shadrock’s final order for stone is part of Shadrock’s scope of work under the Subcontract and

therefore is part of Delta’s scope of supply under the Subcontract. Nevertheless, Delta has refused

to provide the final order under the Supply Contract unless Shadrock agrees to pay a 250% increase

in the unit price and an equipment fee of more than $1,000,000. By refusing to deliver the stone

necessary for Shadrock to complete its scope of work on the Project, Delta has repudiated and

materially breached the Supply Contract. Delta’s material breach has caused Shadrock to begin to

suffer economic damages. If Delta persists in its material breach of the Supply Contract, Delta

will continue to cause Shadrock to suffer economic damages.

       B.          Declaratory Judgment

       11.         Pursuant to Chapter 37 of the Texas Civil Practices and Remedies Code, 28 U.S.C.

§ 2201, and Federal Rule of Civil Procedure 57, Shadrock requests the Court declare the following:

               i.         the Supply Contract is a valid and enforceable contract between Shadrock
                          and Delta;
             ii.          the Supply Contract obligates Delta to provide Shadrock with all stone
                          necessary for Shadrock to complete its scope of work under the Subcontract;
             iii.         Shadrock’s final order of stone is necessary for Shadrock to complete its
                          scope of work under the Subcontract; and
             iv.          the Supply Contract obligates Delta to provide Shadrock with the final order
                          of stone in accordance with the terms of the Supply Contract.

VI.    Relief Requested

       A.          Specific Performance

       12.         A court may award the remedy of specific performance when the plaintiff shows

the defendant breached the contract, the plaintiff complied with the contract, and the plaintiff is



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ready, willing, and able to perform. DiDiuseppe v. Lawler, 269 S.W.3d 588, 601 (Tex. 2008).

Here, Delta breached the Supply Contract by failing to provide the final order of stone in

accordance with the Supply Contract. Shadrock has fully performed the Supply Contract at all

times and remains ready, willing, and able to complete its obligations under the Supply Contract.

       13.     The remedy of specific performance is justified in this case because Delta is the

sole supplier of the stone required to finish the Project. Pursuant to Texas Business and Commerce

Code § 2.716, “[s]pecific performance may be decreed where the goods are unique or in other

proper circumstances.” Here, the goods in question―the stone Delta is obligated to supply under

the Supply Contract―are unique because Delta is the sole supplier of this stone. Shadrock cannot

use any other stone to complete the Project because Shadrock has already installed the Delta-stone

on over 80% of the Project. Therefore, Shadrock has no adequate remedy at law and is entitled to

specific performance. See Sherwin Alumina L.P. v. AluChem, Inc., 512 F.Supp.2d 957, 969-971

(S.D.Tex. 2007) (holding buyer of good was entitled to specific performance from the seller under

§ 2.716 where the goods were unique and buyer needed the goods to continue operations).

       B.      Damages

       14.     As a result of Delta’s breach of the Supply Contract, Shadrock has begun to incur

economic damages. If Delta persists in refusing to supply the final order of stone, Delta will

continue to cause Shadrock to incur significant economic damages.

       C.      Attorneys’ Fees

       15.     Shadrock seeks to recover its reasonable and necessary attorneys’ fees and expenses

caused by Delta to the full extent permitted by law, including the Supply Contract, the Subcontract,

the Prime Contract, applicable federal law, and Texas Civil Practices and Remedies Code Chapters

37 and 38.




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VII.    Conditions Precedent

        16.        All conditions precedent to Shadrock’s causes of actions and right to recover

 against Delta have been performed, excused, or waived.

VIII.   Prayer

        17.        Therefore, Shadrock requests Delta be cited to appear and answer and that the Court

 order Delta to:

                i.        provide Shadrock with the final order of stone in accordance with the terms
                          of the Supply Contract;
              ii.         pay Shadrock all economic damages caused by Delta’s failure to supply the
                          final order of the Supply Contract; and
              iii.        pay Shadrock all attorneys’ fees and costs caused by Delta’s failure to
                          supply the final order of the Supply Contract.


                                                 Respectfully submitted,

                                                 COKINOS | YOUNG

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